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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

     UNITED STATES OF AMERICA

     v.                                                Case No. 8:14-cr-64-T-17TGW

     EDEL MESA-HERNANDEZ

                             FORFEITURE MONEY JUDGMENT

            THIS CAUSE comes before the Court upon the United States' Motion for a

     Forfeiture Money Judgment in the amount of $1,530,000.00.

            Being fully advised of the relevant facts, the Court hereby finds that at least

     $1,530,000.00 was obtained as a result of the conspiracy to bring illegal aliens to

     the United States to which the defendant pled guilty.

            Accordingly, it is hereby:

            ORDERED, ADJUDGED, and DECREED that for good cause shown, the

     United States’ motion is GRANTED.

            It is FURTHER ORDERED that, pursuant to 8 U.S.C. § 1324(b), 18 U.S.C.

     § 982(a)(6), 28 U.S.C. § 2461(c), and Rule 32.2(b)(2) of the Federal Rules of

     Criminal Procedure, the defendant shall be held liable for a forfeiture money

     judgment in the amount of $1,530,000.00. The defendant will be held jointly and

     severally liable for the full amount of the money judgment with co-defendant

     Jasmine Santos-Martinez and any subsequently convicted co-defendants.

            It is FURTHER ORDERED that, upon entry of this order, it shall become a

     final order of forfeiture as to the defendant.
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       The Court retains jurisdiction to address any third party claim that may be asserted

in these proceedings, to enter any further order necessary for the

forfeiture and disposition of such property, and to order any substitute assets

forfeited to the United States up to the amount of the forfeiture money judgment.

       DONE and ORDERED in Tampa, Florida, this day 25th of June, 2014.




Copies to:
Natalie Hirt Adams, AUSA
Counsel of Record
